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                       UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


LOUIS RIVAS,                                    '
                                                '
         Plaintiff,                             '
                                                '
                                                '
v.                                              '   Civil Action No. SA-19-CV-75-XR
                                                '
LJUS CONCEPTS, LLC, and BRIAN                   '
SCHOEMAN,                                       '
                                                '
         Defendants.                            '
                                                '


                               FINAL DEFAULT JUDGMENT

         This action was considered by the Honorable Judge Xavier Rodriguez on a motion for

default judgment, and the following decision was reached:

         It is ORDERED and ADJUDGED that Plaintiff LOUIS RIVAS recover from Defendants

LJUS CONCEPTS, LLC, and BRIAN SCHOEMAN, jointly and severally, the amount of

$3,918.75 in compensatory damages, $3,918.75 in liquidated damages, $1,892.50 in attorney’s

fees, and $585.00 in costs and expenses. Post-judgment interest shall accrue at the rate of 2.34%.

Plaintiffs are awarded costs of court and shall file a bill of costs in accordance with the local

rules.

         It is so ORDERED.

         SIGNED this 3rd day of June, 2019.




                                                    _________________________________
                                                    XAVIER RODRIGUEZ
                                                    UNITED STATES DISTRICT JUDGE
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